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4

5    Attorney for George B. Larsen

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8                         UNITED STATES DISTRICT COURT

9                        EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,            No.   2:15-CR-0190 GEB
12                Plaintiff,              [Amended Proposed] ORDER
13         v.                             Judge: Hon. Garland E. Burrell
                                          Time: 9:00 a.m.
14   George B. Larsen,                    Date: August 11, 2017
15                Defendant.
16

17   To: UNITED STATES MARSHAL SERVICE, SACRAMENTO, CALIFORNIA:

18         This is to authorize and direct you to furnish defendant

19   George B. Larsen with transportation and subsistence from the

20   Portsmouth, New Hampshire area to Sacramento, California on

21   August 10, 2017 and from Sacramento, California to New Hampshire

22   on August 11, 2017 or as soon thereafter as possible.

23         Mr. Larsen is indigent and financially unable to pay his

24   travel expenses to and from Sacramento, California. This request

25   is authorized pursuant to 18 U.S.C. § 4285.

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     Case 2:15-cr-00190-KJM Document 179 Filed 08/04/17 Page 2 of 2


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2       IT IS SO ORDERED.

3       Dated:    August 4, 2017

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